                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:08-cr-00233-MOC-DCK

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                      ORDER
                                               )
 MIGUEL LORIA,                                 )
                                               )
                   Defendant.                  )



       THIS MATTER is before the court on defendant’s Motion for Return of Property.

Based on the thorough update (#171) provided by counsel for defendant, it appears that the major

concerns of defendant have been addressed and that the parties are working in good faith to

resolve any remaining concerns without need of immediate court intervention. Having

considered defendant’s motion and reviewed the pleadings, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that defendant’s Motion for Return of Property

(#155) is DENIED WITHOUT PREJUDICE as to any future filing.




 Signed: June 2, 2015




   Case 3:08-cr-00233-MOC-DCK            Document 174        Filed 06/02/15     Page 1 of 1
